         Case 2:08-cr-00263-TLN Document 163 Filed 05/20/16 Page 1 of 3



              UNITED STATES DISTRICT COURT
                             Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

                                                             Docket               0972 2:08CR00579-01
Name of Offender:      Kevin James Dixon
                                                             Numbers:             0972 2:08CR00263-01

Name of Judicial Officer:     Honorable Garland E. Burrell, Jr., Senior United States District Judge

Date of Original Sentence:    10/5/2009

Original Offense: 2:08CR00579: 18 USC 922(g)(1) – Possession of a Firearm Having Been Previously
Convicted of an Offense Punishable by a Term of Imprisonment Exceeding One Year (Class C Felony);
2:08CR00263: 18 USC 2314 – Interstate Transportation of Money Obtained by Fraud (Class C Felony)

Original Sentence: 2:08CR00579: 78 months custody Bureau of Prisons (concurrent with Docket
Number 2:08CR00263); 36 months Supervised Release (concurrent with Docket Number 2:08CR00263);
$100 Special Assessment; Mandatory drug testing; No firearms; DNA collection; 2:08CR00263: 78
months custody Bureau of Prisons (concurrent with Docket Number 2:08CR00579); 36 months
Supervised Release (concurrent with Docket Number 2:08CR00579); $100 Special Assessment;
$124,510.00 restitution; Mandatory drug testing; No firearms; DNA collection.

Special Conditions:

Warrantless search
Financial disclosure
Financial restrictions
Drug/alcohol treatment
Drug/alcohol testing
Abstain from alcohol
Mental health treatment
Aftercare co-payment
Phone record disclosure
Co-defendant and Gang association restrictions

Type of Supervision:     Supervised Release

Date Supervision Commenced:        7/24/2013




                                           Page 1 of 3                                             PROB 12B
                                                                                                     (08/13)
RE: KevinCase
          James2:08-cr-00263-TLN
                Dixon            Document 163Docket
                                               FiledNumbers:
                                                     05/20/160972 2:08CR00579-01
                                                                Page  2 of 3
                                                             0972 2:08CR00263-01


Other Court Actions:

09/22/2014:    Report on Offender Under Supervision submitted alleging a positive drug test for
               marijuana. No formal action recommended.

12/17/2014:    Report on Offender Under Supervision submitted alleging a New Law Violation
               (Battery). When questioned, the offender acknowledged he could have handled the
               situation differently, and the alleged victim indicated the offender did not push her, as
               reported by her children. No formal action recommended.




                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:

   11. The defendant shall complete 40 hours of community service per month of supervised release as
       monitored by the U.S. Probation Officer. If the defendant is employed part-time, the amount of
       community service hours to be performed by the defendant shall be pro-rated by the United States
       Probation Officer.

Justification: On July 24, 2013, Mr. Dixon was released from custody and commenced supervision in
the Middle District of Florida. His term of supervision is scheduled to expire on July 23, 2016. On
March 11, 2016, Mr. Dixon tested positive for marijuana. Mr. Dixon admitted using marijuana on
March 10, 2016. He was placed in weekly scheduled drug testing for sixty days beginning March 21,
2016. He tested positive for marijuana on March 16, 21, and 28, 2016. A drug sample submitted on
April 4, 2016, was negative for any drug use.

Mr. Dixon’s supervision will terminate on July 23, 2016, with an outstanding restitution balance.
Mr. Dixon has paid a total of $950 and has a remaining balance of $123,560. According to OPERA, the
last payment was received on August 24, 2015. He provided copies of money orders for payments made
in September 2015 and February 2016; however, those payments were not received in the Eastern District
of California. Mr. Dixon is unemployed and is primarily supported by his girlfriend. The probation
officer has provided Mr. Dixon with employment search logs to monitor his diligence in gaining
employment.

Based on the violation conduct, the probation officer recommends the offender’s conditions be modified
to include the above condition for community service. The offender has agreed to this modification and
signed a waiver of hearing to modify conditions (Probation Form 49). The Court is also advised
Mr. Dixon’s supervision will terminate with an outstanding restitution balance.




                                         Page 2 of 3                                              PROB 12B
                                                                                                    (04/13)
RE: KevinCase
          James2:08-cr-00263-TLN
                Dixon            Document 163Docket
                                               FiledNumbers:
                                                     05/20/160972 2:08CR00579-01
                                                                Page  3 of 3
                                                             0972 2:08CR00263-01


                                                       Respectfully submitted,

                                                       /s/ Wendy E. Reyes

                                                       Wendy E. Reyes
                                                       United States Probation Officer
                                                       Telephone: 916-683-4375
DATED:         5/19/2016
                                                       Reviewed by,


                                                                                 for
                                                       Brenda Barron-Harrell
                                                       Supervising United States Probation Officer




THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

Dated: May 19, 2016




CC:

United States Probation

Assistant United States Attorney: Matthew Dean Segal

Defense Counsel: Joseph J. Wiseman




                                            Page 3 of 3                                          PROB 12B
                                                                                                   (04/13)
